     Case 5:16-cv-00849-OLG-RBF Document 57 Filed 02/22/18 Page 1 of 2



                                UNITED STATES DISTRICT COURT                       FILED
                                 WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION                             FEB   2 2 2018

                                                                             CLERK U.S. DISTRCT6URT
                                                                             WESTERN DISTRIC   TEXAS
BRADLEY ALVERSON and CASEY                                                                          CLERK
HOWIE, individually and on behalf of
all others similarly situated

        Plaintiffs

V.                                                                CIVIL NO. SA-16-CA-849-OG

BL RESTAURANT OPERATIONS LLC
d/b/a BAR LOUIE                                        )

                                                       )

        Defendant                                      )




                                                 ORDER
        On this date, the Court considered the report and recommendation of United States

Magistrate Judge John W. Primomo, filed in the above-styled and numbered cause on August 8,

2017 (Dkt. # 39). Defendant filed objections (Dkt. # 43, 46) and Plaintiffs responded to the

objections (Dkt. # 45).

        Defendant contends the Court should reject the Magistrate Judge's well-reasoned

recommendation based on the recent holding in Marsh v. J. Alexander's, LLC, 869 F.3d 1108

(9th Cir. 2017). However, Marsh was a 2-1 decision and the Ninth Circuit has granted rehearing

en banc. Marsh   v.   J. Alexander 's LLC, 2018 WL 913130 (February 16, 2018). In the absence of

controlling Fifth Circuit authority, the Eighth Circuit holding in Fast v. Applebee 's Intern., Inc.,

638 F.3d 872, 878 (8th Cir. 2011) is persuasive, and numerous other federal courts have followed

the same logic. See, e.g., Romero      v.   Top-Tier Colorado LLC, 849 F.3d 1281, 1284 (10th Cir.

2017); Driver v. Applelllinois, LLC, 739 F.3d 1073, 1075 (7th Cir. 2014); Plewinski v. Luby 's

Inc., 2010 WL 1610121, at      *5   (S.D. Tex. Apr. 21, 2010); Flood v. Carlson Restaurants, Inc., 94
   Case 5:16-cv-00849-OLG-RBF Document 57 Filed 02/22/18 Page 2 of 2



F.Supp.3d 572, 584 (S.D.N.Y. 2015)(listing cases).

       After conducting an independent review of the record and the applicable law, the Court

concludes that the Magistrate Judge's recommendation should be accepted.

       It is therefore ORDERED that the Magistrate Judge's recommendation (Dkt. # 39) is

ACCEPTED and Defendant's motion for partial judgment on the pleadings (Dkt. # 24, 29) is

DENIED for the reasons stated in the recommendation.

       SIGNED and ENTERED on the         '   day of February, 2018.




                                                     ORLANDO L. GARCIA
                                                     CHIEF U.S. DISTRICT JUDGE
